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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

             -against-
                                                                  ORDER
JOSE BRITO,
                                                              20 Cr. 63 (PGG)
                           Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               It is hereby ORDERED that the conference in this action previously scheduled for

October 19, 2020 is adjourned to November 2, 2020.

               Upon the application of Jose Brito, by and through his attorney Zawadi

Baharanyi, and with the consent of the United States of America, by and through its counsel,

Assistant United States Attorney Nicholas Ciuchiolo, it is further ORDERED that the time from

October 19, 2020 through November 2, 2020 is excluded under the Speedy trial Act, 18 U.S.C.

§ 3161(h)(7)(A), in the interests of justice. The ends of justice served by the granting of this

continuance outweigh the interest of the public and Defendant Brito in a speedy trial, because it

will permit the parties to continue their discussions regarding a pretrial disposition.

Dated: New York, New York
       October 16, 2020
